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                                                                                   REISSUED FOR PUBLICATION
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                                                                                        U.S. COURT OF FEDERAL CLAIMS
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                                     OFFICE OF SPECIAL MASTERS
                                             No.17-1445V
                                          (not to be pnblished)

****** *******************
R.G., by his parent and natural guardian, *
PAUL GALLAGHER,                           *                     Special Master Corcoran
                                                       *
                                                       *        Filed: October 10, 2018
                           Petitioner,                 *
         V.                 *
                            *                                   Dismissal of Petition; Vaccine
SECRETARY OF HEALTH         *                                   Act; Denial Without Hearing; Failure
AND HUMAN SERVICES,         *                                   to Prosecute.
                            *
               Respondent.  *
                            *
****** **** ** ** ***********

Paul Gallagher, pro se, Southhampton, MA.

Voris E. Johnson, U.S. Dep't of Justice, Washington, D.C. for Respondent.

      DECISION DISMISSING CASE FOR INSUFFICIENT PROOF AND FAILURE TO
                                PROSECUTE 1

        On October 5, 2017, Paul Gallagher filed a petition seeking compensation under the
National Vaccine Injury Compensation Program on behalf of his minor son, R.G. 2 The Petition
alleged that certain childhood vaccines that R.G. received on October 15, 2014, caused him to
suffer from developmental delays that were eventually diagnosed as an autism spectrum disorder
("ASD"). See Petition ("Pet.") at 1-2.

1 Although this Decision has been formally designated "not to be published," it will neve1theless be posted on the
Comt of Federal Claims's website in accordance with the E-Government Act of 2002, 44 U.S.C. § 3501 (2012)). This
means that the Decision will be available to anyone with access to the internet. As provided by 42 U.S.C. § 300aa-
12(d)(4)(B), however, the parties may object to the Decision's inclusion of certain kinds of confidential information.
Specifically, under Vaccine Rule 18(b), each pmty has fourteen days within which to request redaction "of any
information furnished by that pmty: (I) that is a trade secret or commercial or financial in substance and is privileged
or confidential; or (2) that includes medical files or similar files, the disclosure of which would constitute a clearly
unwarranted invasion of privacy." Vaccine Rule l 8(b ). Otherwise, the whole Decision will be available to the public.
Id.
2The Vaccine Program comprises Pait 2 of the National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660,
100 Stat. 3758, codified as amended at 42 U.S.C. §§ 300aa-J0 through 34 (2012) ("Vaccine Act" or "the Act").
Individual section references hereafter will be to § 300aa of the Act (but will omit that statutory prefix).
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        I held an initial status conference in this case on November 27, 2017. Based on my review
of the Petition (in combination with the medical records filed as of that date), 3 I outlined my
concerns to Petitioner regarding the claim's overall reasonable basis. See Order, dated Nov. 28,
2017 (ECF No. 8). I specifically explained to Petitioner that claims alleging vaccines can cause
autism have repeatedly been unsuccessful in the Vaccine Program. Id. at 1-2. I also noted, given
Petitioner's initial asse1iions that R.G. may have suffered some form of encephalopathy post-
vaccination, that Table claims based on a theory of encephalopathy causing a neurologic injury
could be successful (albeit in rare circumstances).

        At the conclusion of the conference, I set a deadline of January 31, 2018, for Petitioner to
file all relevant medical record evidence supporting his claim. Id. at 2. That deadline was
subsequently extended twice over a four-month period. See Order, dated Feb. 1, 2018 (ECF No.
10); Order, dated Apr. 4, 2018 (ECF No. 12). Thereafter, Respondent filed tlu·ee sets of medical
records for Petitioner on April 12, 2018 (including records discussing visits related to occupational
and speech therapy, as well as a neuropsychological evaluation). See ECF No. 16.

        On May 9, 2018 (nearly five months past Petitioner's original medical records filing
deadline), I held an additional status conference to discuss my views of the case in light of the
additional medical records filed to date. Given the existence of numerous other decisions pursuing
theories similar to the one proposed herein (involving a claimed injury of autism after an
encephalopathic event), I reiterated to Petitioner my strongly-held view that his claim likely faced
reasonable basis problems given its overall nature. See Order, dated May 10, 2018 (ECF No. 18)
("May 10th Order"). I noted that it was highly unlikely that Petitioner could show sufficient
grounds for proceeding with this case, as he had produced no evidence to distinguish this case
from the many similar claims that had failed to establish entitlement. Id. at 1-2. In particular, the
record did not supp01i his assertion that R.G. experienced any type of encephalopathic reaction to
the vaccines he received, or that his developmental regression was more than temporally related
to those vaccines. Thus, I set a deadline ofJuly 31, 2018, for Respondent to file a motion to dismiss
the case, and I directed Petitioner to file a response on or before August 31, 2018. See May 10th
Order at 2. 4

        Respondent filed his motion to dismiss, along with a Rule 4(c) Report on July 26, 2018
(ECF No. 21). Thereafter, Petitioner entirely missed the August 31, 2018, deadline to respond.
Thus, on September 6, 2018, I ordered Petitioner to file the overdue response immediately. See
Order, dated Sept. 6, 2018 (ECF No. 22). After Petitioner ignored that deadline as well, I directed
Petitioner to show cause immediately why the case should not be dismissed for failure to comply

3 Petitioner filed roughly 50 pages of medical records with the petition (including R.G.'s birth certificate and records

concerning proof of vaccination, well-child visits, and developmental assessments). See generally ECF No. 1.

4 Respondent filed two additional sets of medical records for Petitioner on June 13, 2018. See ECF No. 20. Those
records included birth records and pediatric well-visit records from Baystate Medical Center.

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with my orders. See Order to Show Cause, dated Sept. 18, 2018 (ECF No. 23). Despite this Order,
Petitioner still has not filed a brief in support of his claim, nor filed a response of any kind to my
Show Cause Order.

        To receive compensation under the Vaccine Program, a petitioner must prove either (1)
that he suffered a "Table Injury" - i.e., an injury falling within the Vaccine Injury Table -
corresponding to one of her vaccinations, or (2) that he suffered an injury that was actually caused
by a vaccine. See Sections 13(a)(l )(A) and l l(c)(l ). An examination of the record, however, does
not uncover preponderant evidence that R.G. suffered a Table injury. Accordingly, Petitioner seeks
to establish entitlement via a causation-in-fact, non-Table claim - meaning he must meet the test
for such a claim set forth by the Federal Circuit in Althen v. Sec '.Y of Health & Human Servs., 418
F.3d 1274 (Fed. Cir. 2005). Petitioner has had several chances to offer an evidence that would
support his claim, and he failed to submit such evidence into the record.

        As noted above, Petitioner has not sufficiently distinguished this case from the many
autism claims that have been litigated unsuccessfully in the Program. The medical records filed in
the case do not support the contention that R.G. suffered a vaccine-induced encephalopathy (or
any other reaction) close-in-time to the vaccine or thereafter. See, e.g., Ex. 4 at I (November 2,
2014 medical visit three weeks post-vaccinations noting R.G. "look[ed] developmentally normal"
with no concern for any significant, adverse behavior apmt from parental concern R.G. was
"avoiding eye contact"); Ex. 7 at I (April 21, 2015 medical visit for staring spells noting GERD
or seizure as possible explanation); Ex. 8 at 1-13 (August 3, 2015 autism evaluation/diagnosis
making no mention of vaccine involvement). At best, one record from long after the October 2014
vaccinations notes in the health history that R.G. "experienced a sudden and significant regression
in language ... shortly after receiving numerous vaccinations[,]" though it offers no explanation
or opinion regarding any correlation between the two. See Ex. C at 2 (October 23, 2017
neuropsychological evaluation).

        The remaining records make no mention of any purported vaccine-induced injury. See
generally Ex. A at 1-10 (December 15, 2017 occupational therapy evaluation relating to active
autism diagnosis); Ex.Bat 1-13 (October 6 & 13, 2017 speech evaluation relating to the same);
Ex.Cat 1-22 (October 23, 2017 neurophysiological evaluation); Ex. D (detailing various bi1th
records, well-baby and well-child visits, and autism assessments); Ex. E (January 1, 2016 visit
detailing post-vaccine treatment for reflux and allergic colitis, September 8, 2015 ER visit for leg
limp, and additional newborn records). Rather, at best, the records suggest only that R.G. 's parents
rep01ted a concern for vaccine-induced regression (absent any treater support connecting a
vaccination with any subsequent symptoms R.G. experienced). See, e.g., Ex. 4 at l; Ex. 5 at 1-2;
Ex. D at 144 (April 7, 2014 visit noting concern for autism expressed prior to vaccinations alleged
to be causative ofR.G. 's symptoms), 250 (April 24, 2015 visit noting parents rep01ted regression



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following twelve-month vaccinations). It is therefore appropriate to dismiss the claim for failure
of proof.

        Moreover, Petitioner's claim may also be dismissed due to his repeated failures to comply
with my orders. A petitioner's inaction and failure to abide by court orders risks dismissal of a
claim. Tsekouras v. Sec'y ofHealth & Human Servs., 26 Cl. Ct. 439 (1992), a[f'd per curiam, 991
F.2d 810 (Fed. Cir. 1993); Sapharas v. Sec'y ofHealth & Human Servs., 35 Fed. Cl. 503 (1996);
Vaccine Rule 21 (b ). Petitioner ignored a deadline set by an Order I issued, and then ignored a
second warning that the case would soon be dismissed if he again failed to respond. In each
instance I provided him with more than enough time to contact my chambers or file some kind of
status report. He was therefore on ample notice of the risks he took not taking my orders seriously.

        Under the Vaccine Act, a petitioner may not receive a Vaccine Program award based solely
on his claims alone. Rather, the petition must be suppmied by either medical records or by the
opinion of a competent physician. Section 13(a)(l). In this case, there is insufficient evidence in
the record for Petitioner to meet her burden of proof. Petitioner's claim therefore cannot succeed
and must be dismissed. Section 11 (c)(1 )(A).

        Thus, this case is dismissed for insufficient proof and failure to prosecute. The Clerk
shall enter judgment accordingly. 5

           IT IS SO ORDERED.


                                                                            Brian H. Corcoran
                                                                            Special Master




5   Pursuant to Vaccine Rule l l(a), the parties may expedite judgment by filing a joint notice renouncing their right to
seek review.

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